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                    UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

     DOUG DENO,

          Petitioner,

     v.                                                    No. 4:24-cv-1094-P

     PROGRESSIVE CASUALTY INSURANCE
     COMPANY, ET AL.,

          Intervenors.

                        MEMORANDUM OPINION & ORDER
       Before the Court are (1) the Motion to Dismiss filed by Progressive
     Casualty Insurance Company and Progressive Advanced Insurance
     Company (ECF No. 14) and (2) the Motion to Dismiss filed by StarStone
     Specialty Insurance Company, Surplus Insurance Company, and
     Ironshore Specialty Insurance Company (as subrogees of Waterview
     Management Group, LLC; ECF No. 16). ACE American Insurance
     Company adopted both Motions. ECF No. 31. The Court will refer to all
     movants collectively as the “Insurers.” After considering the Motions,
     the briefs, and the applicable law, the Court will grant the Motions and
     dismiss Petitioner Doug Deno’s Petition for Exoneration of Liability
     (ECF No. 1).

                                  BACKGROUND 1
        On October 13, 2024, Petitioner’s M/V 1999 Carver 406 Aft Cabin
     yacht (the “Vessel”) caught fire and exploded while docked at Silver Lake
     Marina on Grapevine Lake. The cause of the explosion is still under
     investigation. According to news reports, at least ten boats burned, and
     at least one person was injured. The fire damaged other real and
     personal property as well.


          1The facts in this summary are taken from the Complaint, Progressive’s

     First Amended Motion, and publicly available documents.
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         Petitioner filed a petition for exoneration from or limitation of
     liability under Rule 9(h) of the Federal Rules of Civil Procedure, 46
     U.S.C. §§ 30501, et seq., and Rule F of the Supplementary Rules for
     Certain Admiralty and Maritime Claims of the Federal Rules of Civil
     Procedure. Section 30529 provides, in general, for an owner to bring
     action before a district court for limitation of liability. Petitioner
     contends this Court has subject-matter jurisdiction based on admiralty
     law. “The district court shall have original jurisdiction, exclusive of the
     courts of the States, of: (1) Any civil case of admiralty or maritime law .
     . . .” 28 U.S.C. § 1333. Petitioner argues that maritime law provides for
     federal jurisdiction in this case because Grapevine Lake is a “navigable
     water.”

         Grapevine Lake is an artificial reservoir located northwest of the
     Dallas Fort Worth International Airport. ECF No. 14 at 26–29. The U.S.
     Congress River & Harbors Act of 1945 provided for the construction of
     many reservoirs, including Grapevine Lake. Id. Grapevine Lake was
     constructed by erecting a 12,850-foot-long dam, a 137-foot-high earth-
     fill embankment, and a 500-foot uncontrolled concrete spillway on
     Denton Creek beginning in 1948. Id. at 26. The dam is located on the
     southeastern side of Grapevine Lake and is fed primarily from Denton
     Creek. ECF No. 14 at 26–29. Once the dam was completed in 1952,
     impoundment began. Id. Grapevine Lake is operated by the United
     States Army Corps of Engineers primarily for flood control and water
     conservation. Id. at 28–29. Grapevine Lake is also used for recreational
     purposes. Id.

        (Remainder of page blank on purpose.)




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        Denton Creek, which feeds Grapevine Lake, is located entirely
     within the State of Texas. ECF No. 14 at 35. Denton Creek connects to
     the Trinity River at Elk Fork Trinity River southeast of Grapevine Dam.




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         Petitioner filed a petition for exoneration from or limitation of
     liability and notice of monition. ECF Nos. 1, 2. The Court issued a
     monition and ordered any persons with claims arising from the incident
     or objecting to Petitioner’s rights of exoneration to file with this Court.
     ECF No. 9.

        The Insurers now move to dismiss this case under Rule 12(b)(1) of
     the Federal Rules of Civil Procedure. Insurers argue this Court lacks
     subject-matter jurisdiction because Grapevine Lake is not a navigable
     water within the meaning of admiralty law. Specifically, Insurers
     contend Petitioner failed to allege (1) that Grapevine Lake is navigable
     water under the “location” test and (2) whether the incident has the
     potential to impact maritime commerce and a substantial relationship
     to traditional maritime activity under the “connection with” test.

                               LEGAL STANDARD
        A Rule 12(b)(1) motion “may be raised by a party, or by a court on its
     own initiative, at any stage in the litigation, even after trial and the
     entry of judgment.” Arbaugh v. Y & H Corp., 546 U.S. 500, 506 (2006).
     A court must dismiss the action if it determines that it lacks jurisdiction
     over the subject matter. Stockman v. Fed. Election Comm’n, 138 F.3d
     144, 151 (5th Cir. 1998). A dismissal under Rule 12(b)(1) “is not a
     determination of the merits” and “does not prevent the plaintiff from
     pursuing a claim in a court that does have proper jurisdiction.” Id.
     Considering Rule 12(b)(1) motions first “prevents a court without
     jurisdiction from prematurely dismissing a case with prejudice.” Id.

        A motion to dismiss based on the complaint alone presents a “facial
     attack” that requires the court to merely decide whether the allegations
     in the complaint, which are presumed to be true, sufficiently state a
     basis for subject matter jurisdiction. See Paterson v. Weinberger, 644
     F.2d 521, 523 (5th Cir. 1981). “If those jurisdictional allegations are
     sufficient the complaint stands.” Id.




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                                       ANALYSIS
        District courts have original jurisdiction in admiralty cases. 28
     U.S.C. § 1333(1); See also Jerome B. Grubart, Inc. v. Great Lakes of
     Dredge & Dock Co., 513 U.S. 527, 531 (1995). That jurisdiction flows
     from the United States Constitution, which grants federal courts
     authority to hear “all Cases of admiralty and maritime Jurisdiction.”
     U.S. CONST., art. III, § 2. Congress later captured that power in
     statutory form, giving federal courts “original jurisdiction . . . of . . . any
     civil case of admiralty or maritime jurisdiction.” 28 U.S.C. § 1331(1); See
     also Grubart, 513 U.S. at 531.

        A party asserting jurisdiction based on admiralty law must satisfy
     two tests: the “location” test and the “connection with” test. Grubart, 513
     U.S. at 534.

        First, the “location” test is satisfied either if (a) the injury occurred
     on navigable waters or (b) the injury occurred on land but was caused
     by a vessel on navigable waters. Id. A navigable water is a body of water
     which forms a continued highway for interstate or foreign commerce.
     The Daniel Ball, 77 U.S. 557, 563 (1850).

        Second, once the court determines a body is a navigable water, the
     “connection with” test is satisfied if (a) the incident “has a potential
     disruptive impact on maritime commerce,” and (b) “the general
     character of the activity giving rise to the incident shows a substantial
     relationship to traditional maritime activity.” Grubart, 513 U.S. at 534.
     The court found that because the incident caused damage to an
     underwater structure and could disrupt the course of the water, it
     satisfied the “connection with” test. Id. at 539–40.

        The test for whether a body of water is navigable finds its roots in
     the English common law. Escanaba Co. v. Chi, 107 U.S. 678, 682 (1882).
     The common-law test for navigable waters asked whether the body of
     water was subject to the “ebb and flow of the tide.” Id. That test reflected
     the fact that in England, almost all waters that were navigable in fact
     were subject to the “ebb and flow of the tide.” Id. That test has long been
     discarded in the United States because by the nineteenth century,
     vessels could navigate inland far from the reach of the tide. Id. The

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     English test remained important in this country only when establishing
     rights of riparian owners to “the bed of the streams.” Id. at 682–83.

        The Daniel Ball, the seminal case on the subject, provided the
     definition of “navigable waters” courts use today: “waters which form in
     their ordinary condition by themselves, or by uniting with other waters,
     a continued highway over which commerce is or may be carried on with
     other States or foreign countries in the customary modes in which such
     commerce is conducted by water.” 77 U.S. at 563. In other words, to be
     a navigable water, a body of water must either serve as a potential
     highway for out-of-state commerce or connect to other bodies of water
     that do. In The Daniel Ball, the incident in question occurred on the
     Grand River, which flows into Lake Michigan. Id. at 564. The Grand
     River could carry a large steamer with merchandise or people to Lake
     Michigan from as far inland as Grand Rapids, thus connecting with the
     other states that share Lake Michigan. Id. Because the Grand River
     formed a “continued highway for commerce, both with other States and
     with foreign countries” it was a navigable water. Id.

        A body of water is not navigable for admiralty purposes if it is located
     within one state alone. See The Daniel Ball, 77 U.S. at 564–65 (1850);
     See also Guillory v. Outboard Motor Corp., 956 F.2d 114 (5th Cir. 1992).
     In Guillory, the petitioner argued that the district court had subject-
     matter jurisdiction under admiralty law. Guillory, 956 F.2d at 115.
     Petitioner brought an action under the Limitation of Liability Act for an
     incident that occurred while he was on his bass boat on Crooked Creek
     Reservoir, Louisiana. Id. The Fifth Circuit held that the Reservoir was
     not a navigable waterway based on the following facts: the Reservoir
     was entirely within Louisiana; it was created for recreational use and
     flood control; and the dam blocked vessels from interstate travel.

        Grapevine Lake and the lake in Guillory have several striking
     characteristics in common: both are reservoirs; both were created
     primarily for flood-control and are now used for recreation; both are
     located entirely within one state; and both have dams that block access
     to navigable waters. Under Guillory, Grapevine Lake has all the
     hallmarks of a non-navigable water.


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        Hardwick v. Pro-line Boats provides another helpful example. 895 F.
     Supp. 145, (S.D. Tex. 1995). In Hardwick, a plaintiff invoked admiralty
     jurisdiction based on a boating accident that happened on Lake
     Houston. Hardwick, 895 F. Supp. at 146. Lake Houston was formed by
     damming the San Jacinto River, which is navigable by virtue of its
     connection to the Gulf of America. 2 Id. at 147. But the dam blocks access
     to the San Jacinto River from Lake Houston, and there was no evidence
     of anyone traveling interstate from the Lake. Id. at 148. The court found
     the Lake was entirely landlocked, as a vessel there could not travel to
     the Gulf or to any other state. Id. at 148, 149.

        Grapevine Lake is landlocked. Just as the dam in Hardwick blocked
     vessel passage to the Gulf of America, Grapevine Lake’s dam blocks
     vessel passage to the Trinity River. Likewise, there is no evidence
     presented of anyone having traveled interstate from Grapevine Lake, as
     Denton Creek is located entirely within Texas.

        Petitioner argues that the Court may exercise jurisdiction because
     Grapevine Lake is navigable under the definition of “navigable waters”
     in 33 C.F.R. § 329.4 and the definition of “waters of the United States”
     in 40 C.F.R. § 120.2. ECF No. 33 at 5–6. But § 329.4 applies only to “all
     Corps of Engineers districts and divisions”. 33 C.F.R. § 329.2. And
     § 120.2 applies not to the scope of admiralty jurisdiction but to the Clean
     Water Act (“CWA”). 3 40 C.F.R. § 120.1.

        Next, Petitioner relies on a consent agreement and final order from
     the EPA’s Office of Enforcement and Compliance Assurance. ECF No. 1
     at 1. The agreement defined Grapevine Lake as a navigable water
     within 40 C.F.R. § 112.2. ECF No. 1 at 1. The consent agreement was
     entered under the authority of the EPA by sections of the CWA and other


        2 Formerly, and perhaps more commonly, known as the Gulf of Mexico. See

     Exec. Order No. 14,172, 90 Fed. Reg. 8,629 (Jan. 20, 2025) (directing the
     Secretary of the Interior to rename the Gulf of Mexico to the “Gulf of America”).
        3 Besides, the EPA is currently bound by an injunction prohibiting it from

     implementing or enforcing § 120.2 because the rule does not accurately reflect
     the Supreme Court’s interpretation of the CWA’s jurisdictional language.
     Texas v. U.S. Env’t Prot. Agency, 662 F. Supp. 3d 739, 759 (S.D. Tex. 2023)
     (comparing § 120.2 to Rapanos v. United States, 547 U.S. 715, 765–66 (2006)).
     Petitioner’s proposed standards are not the correct ones.

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     regulations. ECF No. 1 at 1. By agreeing that Grapevine Lake is a
     navigable water under those statutes, the parties stipulated that the
     EPA had jurisdiction. ECF No. 1 at 1.

        Petitioner’s reliance upon this order is misplaced. First, this Court is
     not bound to follow a stipulation by two parties to an administrative
     consent agreement. And while the CWA does use the term “navigable
     waters,” it is defined differently there than it is in the test for admiralty
     jurisdiction. Rapanos v. United States, 547 U.S. 715, 731–32 (2006). The
     CWA defines “navigable waters” as “waters of the United States.” 33
     U.S.C. § 1362(7). In Rapanos, petitioners argued the definition of
     “navigable waters” was limited to the traditional Daniel Ball test for
     admiralty law. Id. The Supreme Court explained that the CWA’s use of
     the term “navigable waters” was slightly broader than the traditional
     use of the term. Id. at 731. The Court has confirmed this understanding
     as recently as 2023 while nevertheless refusing to “read ‘navigable’ out
     of the statute.” Sackett v. Env’t Prot. Agency, 598 U.S. 651, 672 (2023).
     Thus, even if Grapevine Lake qualified as a “navigable water” within
     the meaning of the CWA—which is doubtful given the Supreme Court’s
     insistence on giving meaning to the word “navigable”—it would not
     suffice to confer the Court with admiralty jurisdiction over this action.

                                          ***

        To invoke a federal court’s admiralty jurisdiction, Petitioner has the
     burden to allege that (1) Grapevine Lake is a navigable water and
     (2) “the accident has the potential disruptive impact on maritime
     commerce and the activity giving rise to the accident shows a
     substantial relationship to traditional maritime activity.” Grubart, 513
     U.S. at 535. Petitioner has not provided any evidence that Grapevine
     Lake is navigable. To the contrary, the Court concludes Grapevine Lake
     is not navigable because it is landlocked, located entirely within the
     State of Texas, and primarily used for flood-control and recreation.
     Because Petitioner has not met his burden on the first element, the
     Court need not address the second. Without subject-matter jurisdiction,
     the Court must dismiss the case.




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                                  ORDER
         Before the Court is Plaintiff’s Unopposed Motion for Leave to File
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      Second Amended Complaint. ECF No. 18. Having considered the Motion
      and applicable docket entries, the Court GRANTS the Motion.

         SO ORDERED on this 18th
                            CONCLUSION
                                 day of September 2023.

        For the reasons stated above, the Court hereby GRANTS the
     Insurers’ Motion and DISMISSES this action without prejudice.

        SO ORDERED on this 12th day of March 2025.


                         ______________________________________________
                         Mark T. Pittman
                         UNITED STATES DISTRICT JUDGE




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